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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION
                                        ______

MICHAEL GRESHAM,

                       Plaintiff,                     Case No. 2:16-cv-71
v.                                                    Honorable Paul L. Maloney
PAMELA AUSTIN et al.,

                       Defendants.
____________________________/

                                             OPINION

               This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983,

which was remanded to this Court by the Sixth Circuit following Plaintiff’s appeal. Plaintiff has

previously sought leave to amend his complaint by filing supplemental pleadings, but has failed to

file an amended complaint on the proper form. On June 26, 2018, Plaintiff was provided with a

copy of his original complaint per his request and was ordered to file an amended complaint on

the proper form (ECF No. 26). Plaintiff was advised that if he failed to comply with the order

within 28 days, the court would assume that he wished to proceed solely on the claims asserted in

his original complaint (ECF No. 1).

               Plaintiff has failed to file an amended complaint.         Therefore, the Court has

conducted an initial review of the original complaint. Under the Prison Litigation Reform Act,

Pub. L. No. 104-134, 110 Stat. 1321 (1996) (PLRA), the Court is required to dismiss any prisoner

action brought under federal law if the complaint is frivolous, malicious, fails to state a claim upon

which relief can be granted, or seeks monetary relief from a defendant immune from such relief.

28 U.S.C. §§ 1915(e)(2), 1915A; 42 U.S.C. § 1997e(c). The Court must read Plaintiff’s pro se
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complaint indulgently, see Haines v. Kerner, 404 U.S. 519, 520 (1972), and accept Plaintiff’s

allegations as true, unless they are clearly irrational or wholly incredible. Denton v. Hernandez,

504 U.S. 25, 33 (1992). Applying these standards, the Court will dismiss Plaintiff’s complaint for

failure to state a claim against Defendant Caron. The Court will serve the complaint against

Defendants Austin, Lese, Eagle, Smith, Niemisto, Napel, Alexander, and Rourke.

                                             Discussion

               I.      Factual allegations

               Plaintiff is presently incarcerated with the Michigan Department of Corrections

(MDOC) at the Marquette Branch Prison (MBP) in Marquette, Marquette County, Michigan. The

events about which he complains occurred at that facility. Plaintiff sues Pamela Austin, DDS,

Corrections Officer Unknown Lese, Dental Assistant S. Eagle, Corrections Officer Unknown

Smith, Grievance Coordinator Glenn Caron, Resident Unit Manager Ken Niemisto, Warden

Robert Napel, Deputy Warden James Alexander, and Kevin Rourke.

               Plaintiff alleges that Defendants Austin, Lese, Eagle, and Smith conspired to

retaliate against Plaintiff for filing grievances by denying him necessary dental care. On the way

out of the dental office, Defendants Lese and Smith slammed Plaintiff’s head into the wall, injuring

his nose and causing him to bleed. Plaintiff claims that Defendant Caron allowed Defendant

Austin to review Plaintiff’s grievance on the issue and then refused to give Plaintiff a copy of his

grievance, which interfered with Plaintiff’s ability to exhaust his administrative remedies. Plaintiff

claims that Defendant Napel denied Plaintiff’s step II grievance appeal.

               On a subsequent occasion, Plaintiff was denied treatment by Defendants Rourke,

Austin, and Eagle. Plaintiff states that during rounds by Defendants Alexander, Niemisto and

Napel, he told them that he was being denied necessary dental care. Defendant Alexander told

Plaintiff that they were going to make sure that he did not receive any dental care. When Plaintiff
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asked why, Defendants Niemisto and Napel told Plaintiff that he filed too many grievances.

               Plaintiff claims that Defendants violated his rights under the First and Eighth

Amendments. Plaintiff seeks damages and injunctive relief.

               II.     Failure to state a claim

               A complaint may be dismissed for failure to state a claim if it fails “‘to give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While

a complaint need not contain detailed factual allegations, a plaintiff’s allegations must include

more than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). The court must determine whether the complaint contains “enough

facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

679. Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at

678 (quoting Twombly, 550 U.S. at 556). “[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged – but it has not

‘show[n]’ – that the pleader is entitled to relief.” Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P.

8(a)(2)); see also Hill v. Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010) (holding that the

Twombly/Iqbal plausibility standard applies to dismissals of prisoner cases on initial review under

28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(B)(i)).




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                To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a

right secured by the federal Constitution or laws and must show that the deprivation was committed

by a person acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Street v. Corr.

Corp. of Am., 102 F.3d 810, 814 (6th Cir. 1996). Because § 1983 is a method for vindicating

federal rights, not a source of substantive rights itself, the first step in an action under § 1983 is to

identify the specific constitutional right allegedly infringed. Albright v. Oliver, 510 U.S. 266, 271

(1994).

                Plaintiff claims that Defendant Caron improperly interfered with his right to file a

grievance. Plaintiff has no due process right to file a prison grievance. The courts repeatedly have

held that there exists no constitutionally protected due process right to an effective prison

grievance procedure. See Hewitt v. Helms, 459 U.S. 460, 467 (1983); Walker v. Mich. Dep’t of

Corr., 128 F. App’x 441, 445 (6th Cir. 2005); Argue v. Hofmeyer, 80 F. App’x 427, 430 (6th Cir.

2003); Young v. Gundy, 30 F. App’x 568, 569-70 (6th Cir. 2002); Carpenter v. Wilkinson, No. 99-

3562, 2000 WL 190054, at *2 (6th Cir. Feb. 7, 2000); see also Antonelli v. Sheahan, 81 F.3d 1422,

1430 (7th Cir. 1996); Adams v. Rice, 40 F.3d 72, 75 (4th Cir. 1994) (collecting cases). Michigan

law does not create a liberty interest in the grievance procedure. See Olim v. Wakinekona, 461

U.S. 238, 249 (1983); Keenan v. Marker, 23 F. App’x 405, 407 (6th Cir. 2001); Wynn v. Wolf, No.

93-2411, 1994 WL 105907, at *1 (6th Cir. Mar. 28, 1994). Because Plaintiff has no liberty interest

in the grievance process, Defendant Caron’s conduct did not deprive him of due process.

                Moreover, Defendant Caron’s actions have not barred Plaintiff from seeking a

remedy for his grievances.       See Cruz v. Beto, 405 U.S. 319, 321 (1972).             “A prisoner’s

constitutional right to assert grievances typically is not violated when prison officials prohibit only

‘one of several ways in which inmates may voice their complaints to, and seek relief, from prison



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officials’ while leaving a formal grievance procedure intact.” Griffin v. Berghuis, 563 F. App’x

411, 415-16 (6th Cir. 2014) (citing North Carolina Prisoners’ Labor Union, Inc., 433 U.S. 119,

130 n.6 (1977)). Indeed, Plaintiff’s ability to seek redress is underscored by his pro se invocation

of the judicial process. See Azeez v. DeRobertis, 568 F. Supp. 8, 10 (N.D. Ill. 1982). Even if

Plaintiff had been improperly prevented from filing a grievance, his right of access to the courts to

petition for redress of his grievances (i.e., by filing a lawsuit) cannot be compromised by his

inability to file institutional grievances, and he therefore cannot demonstrate the actual injury

required for an access-to-the-courts claim. See, e.g., Lewis v. Casey, 518 U.S. 343, 355 (1996)

(requiring actual injury); Bounds v. Smith, 430 U.S. 817, 821-24 (1977).              The exhaustion

requirement only mandates exhaustion of available administrative remedies. See 42 U.S.C.

§ 1997e(a). If Plaintiff were improperly denied access to the grievance process, the process would

be rendered unavailable, and exhaustion would not be a prerequisite for initiation of a civil rights

action. See Ross v. Blake, 136 S. Ct. 1850, 1858-59 (2016) (reiterating that, if the prisoner is barred

from pursuing a remedy by policy or by the interference of officials, the grievance process is not

available, and exhaustion is not required); Kennedy v. Tallio, 20 F. App’x 469, 470 (6th Cir. 2001).

In light of the foregoing, the Court finds that Plaintiff fails to state a cognizable claim against

Defendant Caron.

                                             Conclusion

               Having conducted the review required by the Prison Litigation Reform Act, the

Court determines that Defendant Caron will be dismissed for failure to state a claim, under 28

U.S.C. §§ 1915(e)(2) and 1915A(b), and 42 U.S.C. § 1997e(c). The Court will serve the complaint

against Austin, Lese, Eagle, Smith, Niemisto, Napel, Alexander, and Rourke.




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             An Order consistent with this Opinion will be entered.



Dated:   September 6, 2018                        /s/ Paul L. Maloney
                                                  Paul L. Maloney
                                                  United States District Judge




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